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                  EXHIBIT A
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The questionnaire below has been approved by the Court and will be filled out by each prospective juror. To
select jurors, the Court and the parties require certain information. This form is designed to save time and assist
the Court and the parties to move forward as quickly as possible. Please answer the questions below honestly
and completely, and provide the response in the enclosed envelope. This information will not be used for any
other purpose except to select a jury.

                                            JUROR QUESTIONNAIRE

Full Name ___________________________________________________________________________________
1. What is your marital status?
     Single                       Married       Divorced/Separated
     Living with Partner          Widowed
2. What is the highest level of education you have earned and what degrees, if any, have you achieved?
   ________________________________________________________________________________________
3. Are you currently: (Check one)
        Employed ________                Retired ________        Unemployed and looking for work ________
        Unemployed and not looking for work ________             Self-employed ________
        Student ________          Disabled ________      Homemaker ________
        Other (please specify) _______________________________________________
4. If employed, what is your current occupation:______________________________________________
        Name of Employer: _________________________________________________ Since: ____________
        How many employees does your current employer have? ___________
5. If you are not presently employed, and you have previously been employed, describe your last employment,
   including the name of your employer, the length of time you worked there, the nature of your job, and the
   length of time you were employed.

_________________________________________________________________________________________
_________________________________________________________________________________________
6. If married or living with a partner, please describe that person’s present, or most recent, employment.
_________________________________________________________________________________________
_________________________________________________________________________________________
7. Have you or your spouse or partner ever owned your own business?  Yes         No
If YES, please describe the business: ___________________________________________________________
_________________________________________________________________________________________
8. Have you ever been responsible for hiring, firing or supervising employees?  Yes  No
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9. Have you ever taken any courses in, had any training in, or been employed in any of the following
   industries/fields:
           a) Law/Legal field                                   Yes  No
           b) Law enforcement                                   Yes  No
           c) Healthcare/Medicine                               Yes  No
           d) Human Resources                                   Yes  No
           e) Accounting/Economics                              Yes  No
If YES, please describe: ______________________________________________________________________
_________________________________________________________________________________________
10. Have you ever worked for the government?
     Yes       No
If YES, please describe: ______________________________________________________________________
_________________________________________________________________________________________


11. Have you ever worked for the U.S. military?
     Yes       No
If YES, please describe: ______________________________________________________________________
_________________________________________________________________________________________

12. Have you, or has anyone close to you, ever had any work training or personal experience with kidney
    dialysis?
     Yes       No
If YES, please describe: ______________________________________________________________________
_________________________________________________________________________________________
13. In general, how do you feel about the justice system?
        Positive       Negative       Neutral
14. Other than a divorce/custody issue, have you been a [Check all that apply]:
    □ Plaintiff □ Defendant □ Witness □ Unsure □ Never been involved in a lawsuit
    Please explain: __________________________________________________________

15. What is your primary source of news?
    □ Online sources     □ Television □ Radio        □ Podcasts
    □ Print Publications              □ Social Media
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16. What news outlets do you usually follow, if any?

    ________________________________________________________________________________________
    ________________________________________________________________________________________
17. What programs/channels do you regularly listen to or watch?

    ________________________________________________________________________________________
    ________________________________________________________________________________________
18. How familiar are you with DaVita?
       a. Very familiar
       b. Somewhat familiar
       c. Not very familiar
       d. Not at all familiar

19. What is your opinion of the company, DaVita?
      a. Very positive
      b. Somewhat positive
      c. Neutral
      d. Somewhat negative
      e. Very negative
      f. I have never heard of DaVita

20. Have you or someone close to you ever had a negative experience with DaVita?
    Yes         No If “Yes,” please explain:
    ________________________________________________________________________________________
    ________________________________________________________________________________________

21. How familiar are you with Kent Thiry?
       a. Very familiar
       b. Somewhat familiar
       c. Not very familiar
       d. Not at all familiar

22. What is your opinion of Kent Thiry?
      a. Very positive
      b. Somewhat positive
      c. Neutral
      d. Somewhat negative
      e. Very negative
      f. I have never heard of Kent Thiry
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23. Do you have an opinion of Kent Thiry?
   Yes         No If “Yes,” please explain:
   ________________________________________________________________________________________
   ________________________________________________________________________________________

24. Have you heard of any lawsuits involving DaVita and Kent Thiry before today?
   Yes         No If “Yes,” please explain:
   ________________________________________________________________________________________
   ________________________________________________________________________________________
